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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )
                                                  )
 vs.                                              )       No. 94-cr-40050-JPG
                                                  )
 CARL CONRAD BLACKMON, JR.,                       )
                                                  )
        Defendant.                                )

                                MEMORANDUM AND ORDER

        This matter comes before the Court on consideration of defendant Carl Conrad

 Blackmon, Jr.’s prospects for a reduction of his criminal sentence pursuant to 18 U.S.C. §

 3582(c)(2) and United States Sentencing Guidelines Manual (“U.S.S.G.”) § 1B1.10. The Court

 appointed counsel for the defendant, and counsel has moved to withdraw on the basis that she

 can make no non-frivolous arguments in support of a reduction request (Doc. 177). See Anders

 v. California, 386 U.S. 738, 744 (1967). The Government has responded to the motion (Doc.

 179). The defendant failed to respond to counsel’s motion although he was given an opportunity

 to do so.

        Blackmon pled guilty to conspiring to distribute crack cocaine. At sentencing, the Court

 found by a preponderance of the evidence that Blackmon’s relevant conduct was at least 50

 grams but less than 150 grams of crack cocaine, which at the time under U.S.S.G. § 2D1.1

 yielded a base offense level of 32. His offense level was reduced by three points under U.S.S.G.

 § 3E1.1 for acceptance of responsibility. The Court further found that Blackmon was a career

 offender under U.S.S.G. § 4B1.1 based on prior drug or violent felony convictions, which raised

 his base offense level to 37, again reduced by 3 to 34 for acceptance of responsibility.

 Considering Blackmon’s criminal history category of VI, established by his career offender
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 status under U.S.S.G. § 4B1.1, this yielded a sentencing range of 262 to 327 months in prison.

 The Court imposed a sentence of 300 months. Blackmon now seeks to apply recent changes to

 U.S.S.G. § 2D1.1 to lower his sentence.

        Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

 where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

 range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

 994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

 must ensure that any reduction “is consistent with applicable policy statements issued by the

 Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence

 reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

 have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

 with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

 satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

 request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

 Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied, 129 S. Ct. 2817 (2009).

        Blackmon cannot satisfy the first criterion because he was not “sentenced to a term of

 imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

 amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

 levels associated with various amounts of crack cocaine. The Sentencing Commission amended

 U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

 sentences involving powder cocaine. Blackmon, however, was sentenced based on his base


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 offense level set forth in U.S.S.G. § 4B1.1, not his base offense level set forth in U.S.S.G. §

 2D1.1. See Forman, 553 F.3d at 589-90. Thus, his guideline range has not been lowered, and he

 cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a sentence reduction.

        Because Blackmon cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

 obtaining a sentence reduction, the Court does not have jurisdiction to consider a reduction

 request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court therefore

 GRANTS counsel’s motion to withdraw (Doc. 177).

        The Clerk of the U.S. District Court is hereby DIRECTED to mail a copy of this rder to

 defendant Carl Conrad Blackmon, Jr., Reg. # 13384-076, Volunteers of America of Indiana, 811

 East Franklin Street, Evansville IN 47711.

 IT IS SO ORDERED.
 DATED: November 23, 2010.


                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               U.S. DISTRICT JUDGE




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